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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
         v.                                      )        Criminal Action No. 17-46-1 (RBW)
                                                 )
 KASSIM TAJIDEEN,                                )
                                                 )
                 Defendant.                      )
                                                 )

                                              ORDER

       In accordance with the oral rulings issued by the Court at the motion hearing conducted

by video teleconference on May 27, 2020, it is hereby

       ORDERED that Defendant Kassim Tajideen’s Emergency Motion for Compassionate

Release Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), ECF No. 258, is GRANTED. It is further

       ORDERED that the defendant is RESENTENCED to time served, with no period of

supervised release. It is further

       ORDERED that, subject to a fourteen-day quarantine and a medical clearance by prison

authorities, the United States Marshals Service shall forthwith TRANSFER the defendant to the

custody of United States Immigration and Customs Enforcement (“ICE”). It is further

       ORDERED that, once the defendant is transferred into ICE custody, ICE shall forthwith

REMOVE the defendant from the United States to either Belgium or Lebanon, or allow the

defendant to voluntarily remove himself at his own expense to either Belgium or Lebanon. If

removal is not effectuated within fourteen days from the date of this Order, ICE shall forthwith

notify the Court in writing of the status of the defendant’s removal. It is further

       ORDERED that the government shall forthwith make ICE aware of this Order.
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SO ORDERED this 28th day of May, 2020


                                             ________________________
                                             REGGIE B. WALTON
                                             United States District Judge




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